            Case 2:19-cv-00302-RMP                   ECF No. 14          filed 11/09/20     PageID.154 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                               FILED IN THE
                                                                  for thH_                                      U.S. DISTRICT COURT
                                                                                                          EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
    ALMA BRISEIDA AVILA, debtor; and KEVIN                                                                Nov 09, 2020
 O’ROURKE, in his capacity as Chapter 7 Trustee for the
                                                                                                               SEAN F. MCAVOY, CLERK
      Bankruptcy Estate of Alma Briseida Avila,                      )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:19-CV-302-RMP
                                                                     )
                                                                     )
      JP MORGAN CHASE BANK NA, a Delaware
     corporation; and ASHLEY LOYD, an individual,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The Stipulated Motion to Dismiss with Prejudice, ECF No. 12, is GRANTED.
u
              Plaintiff’s Complaint is dismissed with prejudice and without fees or costs to any party.




This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge             Rosanna Malouf Peterson                                        on a Stipulated Motion to Dismiss with
      Prejudice.


Date: November 9, 2020                                                      CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Sara Gore
                                                                                           %\ Deputy Clerk

                                                                             Sara Gore
